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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

    ELIZABETH SINES, et al.,

                       Plaintiffs,                        No. 3:17-cv-00072-NKM

       v.                                                 JURY TRIAL DEMANDED

    JASON KESSLER, et al.,

                       Defendants.

        DEFENDANTS DAVID MATTHEW PARROTT, MATTHEW HEIMBACH, AND
        TRADITIONALIST WORKER PARTY’S MOTION FOR RECONSIDERATION
                      REGARDING THE HEAPHY REPORT

            Defendants David Matthew Parrott (“David Matthew”), Matthew Heimbach

   (“Matthew”), and Traditionalist Worker Party (“TradWorker”) respectfully move the Court for

   reconsideration of its October 15, 2021 Order excluding the Heaphy Report except for very

   limited purposes. (See ECF No. 1231.) Specifically, Defendants request that the Court consider

   the Heaphy Report admissible in its entirety pursuant to Federal Rule of Evidence 807.

            The Heaphy Report is precisely the kind of evidence for which the Rule 807 “residual

   exception” exists — i.e., the circumstances surrounding it are extraordinary, and it possesses

   extraordinary indicia of trustworthiness and reliability. It is the only independent investigation of

   these events in existence. It is more probative than any other evidence which Defendants can

   procure through reasonable efforts, and this immense probative value cannot possibly be

   outweighed by any alleged danger of unfair prejudice.
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          Due to the extremely limited amount of time remaining before trial, the undersigned asks

   that the Court hear oral argument on this issue in lieu of full briefing. (Plaintiffs’ counsel have

   already briefed this issue in their Motion (see ECF No. 1145).)


                                                          Respectfully submitted,




                                                          /s/ Joshua Smith
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                                                          Counsel for Defendants David Matthew
                                                          Parrott, Matthew Heimbach, and
                                                          Traditionalist Worker Party


   Dated: October 20, 2021




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                                     CERTIFICATE OF SERVICE

          I hereby certify that on October 20, 2021, I filed the foregoing with the Clerk of Court

   through the CM/ECF system, which will send a notice of electronic filing to all counsel of record

   in the case, as well as all ECF-registered pro se parties.

          I hereby further certify that on October 20, 2021, I served a copy of the foregoing on the

   following non-ECF pro se parties, via electronic mail, as follows:

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          I hereby further certify that on October 20, 2021, I served a copy of the foregoing on the

   following non-ECF pro se party, via first-class mail, as follows:

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                                                           /s/ Joshua Smith
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